Case 18-56641-wlh        Doc 25     Filed 08/20/18 Entered 08/20/18 13:06:48           Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

   IN RE:                                         :
                                                  :
   EDDIE PORTER, JR
   CHARLOTTE VICTORIA PORTER                      :      CHAPTER 13
                                                  :
                   Debtor.                        :      CASE NO.: 18-56641-WLH


                 CERTIFICATE OF MANNER OF SERVICE PURSUANT TO
                             BANKRUPTCY RULE 7004

            This is to certify that I have this day served a copy of the Initial Chapter 13 Plan
   filed in the above styled case on June 14, 2018 (Doc. No. 22) by depositing same in the
   United States mail with the adequate postage affixed thereto to insure delivery addressed
   as follows:


   Santander Consumer USA
   PO BOX 961245
   Fort Worth, TX 76161


   C T Corporation System (Registered Agent for Santander)
   289 S Culver Street
   Lawrenceville, GA 30046


   DATED: August 20, 2018
   _____/s_____________
   Howard P. Slomka
   Georgia Bar #652875
   Attorney for the Debtor
   Slipakoff & Slomka, PC
   2859 Paces Ferry Rd, SE Suite 1700
   Atlanta, GA 30339
